UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE                                 Civil Action No. 1:22-cv-01346
 COMMISSION,

                      Plaintiff,                         NOTICE OF APPEARANCE

           v.

 JAMES VELISSARIS,

                      Defendant.




       PLEASE TAKE NOTICE that Charlotte Underwood, a member in good standing of the

Bar of this Court and counsel with the law firm Barnes & Thornburg LLP, hereby enters her

appearance as counsel of record for Defendant James Velissaris in the above-captioned litigation.

 Dated:     New York, New York
            April 18, 2023

                                             RESPECTFULLY SUBMITTED,


                                             By:    /s/ Charlotte Underwood
                                                    Charlotte Underwood
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